“md. ‘FEF. 428-5 Filed 11/10/09 Page 1 of 2
md-0704 Sk WoMEs PURCHASE CON. | Ser g
L426. d/b/a SUNRISE HOMES, hereinafter called "SELLER"

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: ttt, (teas, hereinafter called "BUYER" agree as follows: SELLER agrees to
grees to buy the Prop ety p i Lint Lowe Subdivision
. m

designated ..as lot Phase Lh “more commonly known ~—Ss as
(Adgess)_, 6/90, iukstin 2

t-1 Mississippi IAAF, together with all improvements thereon, or to be erected
thereon, j ing House Type , Elevation de in accordance

with plans and specifications prepared by SELLER. Said house has been or will be built under the observations and/or inspections of
the applicable state and/or local governing authorities, and in accordance with the performance guidelines established by Bonded
Builders Home Warranty Association and the National Home Warranty Association residential construction performance guidelines.

BUYER L agrees D toy. purchase , the Q above property, . for the "A sum of
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ARS $_2 LSD. 20 _Y. Asa further condition of this sale, tle BUYER agrees to pay for} cdets irfaldent to closing

this transaction which costs include, but are not limited to, credit report, title examination and insurance, fire and extended coverage
insurance, appraisal fee, pro-rated Home Owners Association fees, inspection fees, notarial costs and fees {including certificates in the
name of the BUYER), preparation and execution of sale and mortgage, recordation, proration of taxes, interest from Closing date to first
day of following month, and/or such other closing costs as may be required by or approved by the applicable aforementioned Federal
Agency or conventional lender,

Within 14-calendgr days,aftey'the date of this Purchase Contract, BUYER shall make good faith application for a loan in the amount of
$ for a term of __ -3#> years. The proceeds of the loan will be applied against the
purchase price of the property. The balarice of the purchase price and the He cos if by BUYER i" be paid in cash by BUYER

at the time of closing. BUYER warrants that he/she/they now have $__* ’ cash for the necessary down
payment and closing costs.

BUYER may cancel this Purchase Contract for any reason within 14 calendar days after the date of this Purchase Contract and receive
a return of the Deposit in full. BUYER may also cancel this Purchase Contract within the first 30 days if BUYER is unable to obtain final
loan approval, in which event SELLER will return BUYER'S Deposit, minus the sum of $250, which will be retained by SELLER to cover
SELLER'S costs and expenses incurred in processing this transaction. If BUYER cancels this Purchase Contract after the first 30 days
for any reason other than SELLER'S default, then the Deposit will be forfeited in full as liquidated damages.

\f BUYER fails to comply with this Purchase Contract, SELLER may cancel this Purchase Contract and retain the Deposit (not to
exceed $3,000) in full as liquidated damages, in which event SELLER shall have the right to re-offer the property for sale free and clear
of this Purchase Contract. if SELLER fails to comply with this Purchase Contract for any reason, this Purchase Contract shall be
deemed cancelled, and the SELLER shall return BUYER'S deposit (not to exceed $3,000) and any other payments in full. These shall
be the sole and exclusive rights and remedies of BUYER and SELLER in the event of a default. BUYER and SELLER waive all other
rights and remedies as a result of a default.

BUYER or SELLER shall have the right to cancel this Purchase Agreement in the event construction is delayed or the property
contracted for herein is damaged as a result of an Act of God or by a natural disaster. Either party shail notify the other of the intent to
cancel in writing. Cancellation pursuant to this provision shall not be considered a breach of the terms of this Purchase Agreement by
either BUYER or SELLER.

BUYER has deposited $ 3, Off:
and down payment.

The purchase price abov

to be applied to the sum of the purchase price, closing costs

e following additions and/or conditigns:

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The home to be purchased pursuant to this Purchase Contract will be covered by the New Home Warranty Act, a copy of which is
provided to BUYER. No other warranty has been or will be given by the SELLER.

The BUYER acknowledges that he/she/they have inspected the !ot to be purchased, that the lot is acceptable, and that after the sale,
BUYER shall be solely responsible for maintaining the drainage pattern on the lot and for the prevention of erosion.

EXHIBIT

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PENGAD 800-631-6989

The SELLER'S Garang ai ae B04 RE vide 0, 2 rahe Caused By any | Cus(es)* or “sporetay or <n substance, vapor

or gas produced by or arising out of any tungus(es) or spore(s) or any material, product, ouilding component, building or structure that
contains, harbors, nurtures or acts as a medium for any fungus(es) or spore(s). Fungus(es) includes, but is not limited to, any form or
type of mold, mushroom or mildew. Spore(s) means any reproductive body produced by or arising out of any fungus(es).

All subdivision improvements are included in the purchase price and have been or will be installed in accordance with plans and
specifications approved by and on file with the local governing agency.

Subject to any delays beyond the control of SELLER, such as inclement weather or other adverse working conditions, fire or other
casualty, riots, strikes or other acts of workmen and/or subcontractors, material delivery days or on account of any acts of God or
natural disasters, the above building improvements shall be completed on or before 180 days from the date of acceptance of this
contract. :

The real estate taxes are to be prorated between BUYER and SELLER as of the date of closing. BUYER shall assume all assessments
for municipal improvements, which become a lien after the date of closing.

BUYER shall be delivered possession of the property at the Act of Sale, Act of Sale to be passed within three days after completion of
improvements and receipt by SELLER of an Occupancy Certificate unless otherwise extended by written agreement between the
parties,

BUYER agrees to take title of said property within three (3) working days upon notification of scheduled closing, verbally or in writing, by
SELLER or Lending Institution. Act of Sale to be passed by Julien K. Byme, Ill, Notary Public, (228) 452-9408. If BUYER fails to take
title to said property as a result of not obtaining loan approval, SELLER shall have the right to retain BUYER'S deposit and re-offer the
property for sale.

If the above offer of BUYER is not accepted within thirty (S0) days from the date hereof, deposit is to be refunded to BUYER without
any cost or obligation.

If any dispute or difference shall arise between BUYER and SELLER with respect to any matter or thing arising out of, or in any way
relating to this Contract, such difference or dispute shall, immediately after it has arisen, be referred for final and binding determination
to Maps Professional Systems, Inc. a recognized arbitration expert. {f that entity is unable to serve, another expert mutually acceptable
to both parties shall be named. The decision of the expert shall be final and conclusive as to matters referred to him, provided the
decision is rendered in writing within the time specified on the Request of Dispute Resolution. Costs and charges attending such
reference shall be paid by the losing party. This agreement for settlement of disputes shall be the sole method for dispute resolution.
The decision of the expert as to specific performance and/or damages shall be final and judgment may be entered upon it in
accordance with applicable law.

It is expressly agreed that all terms and conditions are included herein or made a written part of this contract by means of an addendum
to this contract and there have been no verbal agreements of any kind. Verbal agreements or promises made by anyone (including
subcontractors) are not binding on the SELLER.

Dated _ this FtK. fday ,of _, Lhgant
2004, Al au fet Gd

| acknowledge receipt of the deposit of BUYER(S)

FEI
| OQ gd

, Mississippi.

SAILS CIATE

We accept the above offer, subject to the terms

a eqneivons set forth above.
C | IN Yea H~ 14-06

SELLER (FOR SUNRISE HOMES) (DATE)
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